Dear Secretary Carnahan:
This opinion letter responds to your request dated December 24, 2008, for our review under Section 116.334, RSMo, of a proposed summary statement prepared for the petition (version 2) submitted by Ron Calzone on November 26, 2008, relating to amending Article VI, Section 21 of the Missouri Constitution. The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to change the power of the General Assembly and constitutionally chartered cities or counties to:
    • Prohibit the use of eminent domain to acquire and resell property found to be blighted, substandard or unsanitary for the purpose of clearance, redevelopment or rehabilitation; and
    • Allow them to require owners of property found to be a public nuisance to abate or clean up the nuisance and, if the property owner fails to do so in a reasonable time, allow the local government to pay for the abatement and impose a lien to recover the cost? *Page 2 
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                   Very truly yours,
                                   _________________________ Karen King Mitchell Deputy Attorney General *Page 1 